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             • LATEST

             Sept. 13, 2021 open letter on my blog httn://l}olitics2022.org
             From: Cris Ericson
             879 Church Street
             Chester, Vermont 05143-9375                                          . Ameh~ed Rezuest ,·~
             (802)875-4038                                                                          J+cV\Oro--hle
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            To: Federal Judge Robert N. Scola                            .....-r- e ,0 , ,_i,:..tN Seo Jr,/ s
            United States District Court                                  _J W 1     (Y>Vi_:t::::t~-------:4- ~
            Southern District of Florida                                                                    p ,e9 U e.S \                         r
            Wilkie D. Ferguson, Jr. U.S. Courthouse                            pf;"N\AL                 O               O -t-=
            400 North Miami Avenue, 8th floor                                     s- :b- l~c-s                Moff"cV\           1-0
            Miami,FL33128                                                          ~-\-e,VeV\_:'-
            RE: DONALD TRUMP v. TWITTER INC.
            Case 1:21-cv-22441-RNS
                                                                                                    -
            AMENDED REQUEST IN RESPONSE TO HONORABLE JUDGE ROBERT N.
            SCOLA'S -------..      -· •



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           September 10, 2021, Local Rule 7.1(a)(3) DENIAL OF REQUEST FOR SUBCLASS
           Motion to Intervene

           (1) I have emailed all attorneys for Plaintiff, Donald J. Trump and Class.

           (2) I have emailed all attorneys for Defendant, Twitter and Jack Dorsey.

           (3) I have emailed the Dept. of Justice, Civil Division Attorney.

           (4) I have tried to locate Laura Loomer who was on the Florida primary
           election ballot as a Republican political candidate for U.S. Congress 2020
           but was still being banned from TWITTER prior to the Nov. 3, 2020 election,
           which she lost to a Democrat.

           htlps: / /www .newswars.com/censored-laura-loomer-addresses-twitter-
           ban-statement/
           "Aug 02, 2021. My Name is Laura Loomer. As many of you may have
           heard, I was permanently banned from Twitter for life on November 21, 2018 .."."

           I can not find a curent telephone number or email for Laura Loomer.
           Loomer v. Twitter Case 9:19-cv-81179-RAR
           U.S.D.C. Southern District of Florida, Palm Beach County Division
           Illominate Media, Inc. and Laura Lammer, Plaintiffs
           v. CAIR Florida Inc., CAIR Foundation, and TWITTER, Defendants.
           Case 9:19-cv-81179-RAR The case is about TWITTER'S ban
           of Laura Loomer and Plaintiffs speculation that CAIR-Florida
           must have done something to cause Twitter to ban her in late
           November 2018. CAIR is the Council on American Islamic Relations.

           (5) Laura Loomer's previous legal action was not based on the same codes
           and statutes that my proposed subclass request is based on herein,
           so this is a different legal cause of action.

           Statement of Facts:

           I was on the official election ballot in Vermont 2020 for statewide
           offices after having won the Progressive Party Primary Election
           (Progressive Party is a major political party under Vermont law) for
           Lt. Governor, Attorney General, Auditor, Treasurer and Secretary of
           State, as allowed under Vermont law.




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          Before the Nov. 3, 2020 General Election in Vermont,
          where I was on the official Vermont Election Ballot for
          a total of five statewide offices, I experienced being CENSORED by
          TWITTER and Jack Dorsey.

           In Donald J. Trump's Class Action, DONALD TRUMP v. TWITTER INC.
           Case 1:21-cv-22441-RNS it is stated:

           "III. DEMOCRAT LEGISLATORS COERCED DEFENDANTS TO CENSOR THE
           PLAINTIFF AND PUTATIVE CLASS MEMBERS
           48. Democrat legislators in Congress feared Plaintiffs skilled use of social media as a
           threat to their own re-election efforts. These legislators exerted overt coercion,
           using both words and actions, to direct Defendants to censor the views and
           content which Democrat Members of Congress disagreed with, of both Plaintiff
           and Putative Class Members."

          I propose myself, Cris Ericson, CENSORED by TWITTER and Jack Dorsey,
          as a subclass lead plaintiff to represent
          all 2018 and 2020 political candidates for any federal, state or local office
          who were CENSORED by TWITTER and Jack Dorsey before any primary
          election or general election in the U.S.A. because U.S. Senator Patrick Leahy
          and/or U.S. Senator Bernie Sanders and/or U.S. Congressman Peter Welch
          may have asked Jack Dorsey and TWITTER to CENSOR me:

          (a) During a past political campaign, when I was on the Vermont
          November general election ballot for Representative to U.S. Congress,
          WNYr told me that Democrat U.S. Congressman Peter Welch's office
          contacted them and told them he did not want me to appear with
          my dog again, because the dog would get all the votes. This
          leads me to question if U.S. Congressman Peter Welch contacted
          TWITTER or Jack Dorsey at any time and asked them to censor me?

           (b) In a live televised debate in a past political campaign, when
           I was on the Vermont ballot for Representative to U.S. Congress,
           I appeared on CCTV in Burlington, Vermont running against
           Democrat U.S. Congressman Peter Welch when he said he had taken
           no political campaign contributions from defense contractors
           and I stated that he was not telling the truth because in the previous
           week he had been photographed in the Burlington Free Press
           with U.S. Senator Patrick Leahy smiling and holding up their
           campaign checks for thousands of dollars from a defense
           contractor. Did either U.S. Senator Patrick Leahy or



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           U.S. Congressman Peter Welch at any time contact Jack Dorsey
           or TWITTER and tell them to censor me?

           (c) In a past political campaign, in a live televised debate,
           when I was on the Vermont ballot for U.S. Senate,
           I stated that Democrat U.S. Senator Patrick Leahy repeatedly took
           political campaign donations from my opposing attorneys' PAC
           (I was prose, informa pauperis) while my case was in the federal
           courts, and my case was dismissed (Supreme Court of the United
           States Docket # 99-6899). He stated, live on television, that it was
           past the statute of limitations, but he did not deny repeatedly
           taking political campaign donations from the PAC of my opposing
           attorneys (in a case originating in CALIFORNIA, where I had
           been injured while working on a movie set with so called "trade secret"
           "harmless special effects", a fraudulent term in commerce
           in my opinion for PETN, lead azide and lead styphnate squibs and
           detonators which took seven years in courts to file a complaint against
           state OSHA and bring in federal OSHA to get the material safety-data
           hazard sheets for these military high explosives which they had canceled).
           At any time did U.S. Senator Patrick Leahy ask
           Jack Dorsey or TWITTER to censor 1!1-e?
                                                                                                                        •,. l,


           (d) In a past political campaign, in a live televised debate,
           I was on the Vermont ballot for U.S. Senate and
           I stated that U.S. Senator Bernie Sanders
           was not telling the truth about the F-35 strike fighter jets
           when he stated that they had no nuclear components.
           They are now the subject of controversy
           because U.S. Senator Bernie Sanders won his
           campaign to have them based in the most populated city
           in the most populated county in Vermont causing citizens
           and children to be injured by the noise and vibration, etc.
           At any time did U.S. Senator Bernie Sanders contact Jack Dorsey or
           TWITTER and ask them to censor me?

           (e) In 2018 I was on the official election ballot in Vermont
           as a candidate for Represenative to U.S. Congress
           and Vermont PBS refused to include me in political candidate
           debates.
           Did U.S. Congressman Peter Welch ask them to exclude me?
           www.fec.gov >files> legal> murs >7619 >7619
           RE: MUR 7619. The Federal Election Commission



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           Did U.S. Congressman Peter Welch ask TWITTER and Jack Dorsey
           to CENSOR me?

            I feel that every election in Vermont has been unfair
            because I have been excluded from some candidate debates
            and forums every campaign season. Now, I am aware of the
            wrongful CENSORSHIP against me by TWITTER and Jack Dorsey.

           2004, 2010, and 2016 I was on the official November general
           election ballot for U.S. Senator in Vermont running
           against Democrat U.S. Senator Patrick Leahy.
           2006 and 2012 I was on the official November general
           election ballot in Vermont for U.S. Senator running
           against U.S. Senator Bernie Sanders.
           2008, 2014, and 2018 I was on the Vermont official November
           general election ballot for Represenative to U.S. Congress
           running against Democrat U.S. Congressman Peter Welch.
                                                                                                    -~~~             ...,...ft,,.,..,___




            LEGAL ARGUMENT and Table of Authorities:

           Rule 23. Class Actions (c)(s) Subclasses.
           When appropriate, a Class, Case 1:21-cv-22441-RNS,
           may be divided into subclasses that are
           each treated as a class under this rule; and herein I present an
           amended request for a subclass for political candidates,
           like myself, who were on any federal, state or local primary
           election or general election ballot but censored by Jack Dorsey
           and TWITTER, allegedly in violation of Title 18 U.S.C. Section 600
           andTitle 52 U.S.C. Section 30121 (a)(1)(A), because
           Title 4 7 U.S.C. Section 230 forbids violations of federal criminal laws.

           Title 18 U.S.C. Section 600: Whoever, directly or indirectly, promises any
           benefit, provided for or made possible in whole or in part by any Act of Congress,
           (such as Title 47 U.S.C. Section 230) to any person (TWITTER is a corporate
           "person") as consideration for any political activity (such as censoring a
           political candidate)
           in opposition to any candidate or any political party in connection with any
           primary or general election to any political office shall be fined under this title ...



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           Title 52 U.S.C. Section 30121 (a) Prohibition: It shall be unlawful for (1) a foreign
           national,
           (Twitter allegedly earns
           money from foreign nationals and allegedly does not segregate the funds) directly
           or indirectly, to make
           (A) a contribution or other thing of value (censoring candidates competing for
           elected political office is of value
           to the opposing candidates who are not censored) in connection with a Federal,
           State, or local election; ...

           Title 47 U.S.C. Section 230 prohibits violations of any federal criminal law.

           Summary:

           Political candidates, like me, and the certified voters who sign
           petitions to put candidates on the official election ballot in any State for
           federal, state or local office, are DAMAGED BY CENSORSHIP
           by Jack Dorsey and TWITTER because it is extremely important for voters
           to know the political positions of the people they vote for, and to
           deprive voters of this knowledge is serious and willful and intentional
           concealment of material facts, damaging the censored candidates
           and the voters.

           I respectfully ask this Court and Federal Judge Robert N. Scola
           to consider my Amended request for:

           (1) a subclass to include all 2018 and 2020 political candidates for any
           primary election or general election in any State of the United States of
           America who were CENSORED by TWITTER and Jack Dorsey;

           (2) permission of the Court to proceed informa pauperis because I am
           a senior citizen with income below the poverty level;

           (3) Court appointment of legal counsel pro bono / contingency fee because I
           can not afford wifi or broadband at home to conduct litigation. There is
           no local bus or taxi service in Chester, Vermont 05143 to get to the library,
           and during up to six months of snow season I might not be able to get
           a home driveway snow plow truck because of the high demand of drivers.

           Respectfully submitted to The Honorable Federal Judge Robert N. Scola by:

           Cris Ericson (802)875-4038                        ~-                                     --~~~---
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             By public wifi email to the following:

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